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                          EXHIBIT 2
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                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Norfolk Division

    CSX TRANSPORTATION, INC.,                         )
                                                      )
                                   Plaintiff,         )
                                                      )
    v.                                                )              Case No. 2:18-cv-530
                                                      )
    NORFOLK SOUTHERN RAILWAY                          )
    COMPANY, et al.,                                  )
                                                      )
                                   Defendants.        )


         SUPPLEMENTAL DECLARATION OF ALAN D. WINGFIELD IN SUPPORT OF
                     NORFOLK SOUTHERN RAILWAY COMPANY’S
           BILL OF COSTS PURSUANT TO 28 U.S.C. § 1920, FED. R. CIV. P. 54 (d)(1),
                             AND LOCAL RULE 54 (D)(1)

            I, Alan D. Wingfield, hereby declare as follows:

            1.     I am a partner with the law firm of Troutman Pepper Hamilton Sanders LLP,

   counsel for Defendant Norfolk Southern Railway Company (“NS”) in this litigation. I submit

   this declaration to supplement my declaration of May 3, 2023 in further support of NS’s Bill of

   Costs pursuant to Fed. R. Civ. P. 54(d)(1), Local Rule 54(D)(1), and 28 U.S.C. § 1920. I have

   personal knowledge of the facts stated herein and, if called as a witness, could and would testify

   competently hereto.

            2.     In particular, CSX has challenged NS’s including in its Bill of Costs associated

   with processing video of depositions to enable their use at trial. ECF 653, pp. 7-11

            3.     After amendment to eliminate costs from several depositions in their entirety, NS’s

   includes video processing costs for 29 depositions. These 29 depositions are reflected in the

   Amended Exhibit B submitted with this declaration. CSX has challenged video processing costs

   for 26 of these depositions.
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          4.        The 26 depositions with challenged video processing costs fall into three

   categories:

                 a. 20 depositions where CSX planned to use video deposition testimony at trial, and

                    NS (and NPBL) designated portions of the testimony to be included in CSX’s

                    video presentation;

                 b. Three depositions of third party witnesses within the subpoena power of the court

                    that CSX intended to call live, where NS needed video deposition for the most

                    effective cross examination; and

                 c. Three expert witness depositions, where video would be potentially used in cross

                    examination and redirect.

          5.        As for the 20 depositions of CSX-designated witnesses, video costs were necessary

   for NS because NS had designations of testimony that needed to be included in CSX’s video

   deposition presentations for these witnesses. The fact that CSX had designated and intended to

   use these 20 depositions, and that NS and NPBL had counter and cross designated for each of

   these depositions, can be seen from the joint final pretrial order filing at ECF 517-1 and ECF 517-

   6. I have crossed referenced these filings to confirm this fact.

          6.        The three third party depositions (two of Catherine Vick and one of Thomas

   Cappozi) were of witnesses within the subpoena power of the port. However, these witnesses

   were affiliated with the Virginia Port Authority, were designated to testify live at trial in favor of

   CSX, were generally friendly to CSX’s position, and NS needed the video for the most effective

   cross examination.

          7.        The three expert witness depositions (Howard Marvel, Matthew Wright and

   Thomas Crowley) were critical because these witnesses were central to CSX’s and defense cases,



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